
USCA1 Opinion

	













                            United States Court of Appeals
                            United States Court of Appeals
                                For the First Circuit
                                For the First Circuit
                                 ____________________

        No. 95-1039

                                 HELEN RUTH ANDRADE,
                                Plaintiff, Appellant,

                                          v.

                JAMESTOWN HOUSING AUTHORITY, ESTATE OF BARRETT GROSS,
                   ERNEST ANTHONY, EDWARD HOLLAND, LLEWELYN EATON, 
                       PHYLLIS TIEXIERA AND FREDERICK HILLIER,
                                Defendants, Appellees.
                                 ____________________

        No. 95-1040

                                 HELEN RUTH ANDRADE,
                                 Plaintiff, Appellee,

                                          v.

                JAMESTOWN HOUSING AUTHORITY, ESTATE OF BARRETT GROSS,
                   ERNEST ANTHONY, EDWARD HOLLAND, LLEWELYN EATON,
                       PHYLLIS TIEXIERA AND FREDERICK HILLIER,
                                Defendants, Appellees,

                                _____________________

                       SELF-HELP, INC. AND DEBORAH A. JACKSON,
                               Defendants, Appellants.
                                 ____________________

        No. 96-1329

                                 HELEN RUTH ANDRADE,
                                 Plaintiff, Appellee,

                                          v.

                JAMESTOWN HOUSING AUTHORITY, ESTATE OF BARRETT GROSS,
                   ERNEST ANTHONY, EDWARD HOLLAND, LLEWELYN EATON,
                       PHYLLIS TIEXIERA AND FREDERICK HILLIER.
                               Defendants, Appellants.























                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                     [Hon. Ernest C. Torres, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                            Cyr and Stahl, Circuit Judges.
                                           ______________

                                 ____________________

            Ernest Barone for Helen Ruth Andrade.
            _____________
            Frank  E. Reardon  with whom Hassan  &amp; Reardon, P.C.  was on brief
            _________________            _______________________
        for Self-Help, Inc. and Deborah Jackson.
            James A. Donnelly for Jamestown Housing Authority, et al.
            _________________


                                 ____________________

                                     May 1, 1996
                                 ____________________








































                      STAHL, Circuit Judge.   Plaintiff-appellant,  Helen
                      STAHL, Circuit Judge.
                             _____________

            Ruth Andrade, filed a  five-count complaint in Rhode Island's

            federal district  court seeking redress  for her  termination

            from   employment  as  an  administrative  assistant  at  the

            Jamestown  Housing Authority  ("JHA").   In addition  to JHA,

            Andrade  sued Self-Help,  Inc. ("Self-Help"),  the sponsoring

            agency  that placed her at  JHA; Deborah Jackson, a Self-Help

            employee;  Barrett  Gross,1  JHA's  Executive  Director;  and

            Ernest  Anthony,  Edward  Holland,  Llewelyn  Eaton,  Phyllis

            Tiexiera,  and  Frederick  Hillier,  all  of  whom  were  JHA

            Commissioners.  At trial,  Andrade sought to prove violations

            of 42  U.S.C.   1983  (Count II), 42 U.S.C.    1985(3) (Count

            III), and state tort (Count IV) and contract (Count V) law.2

                      At  the  close  of evidence,  the  district  court,

            pursuant to  Fed. R. Civ.  P. 50(a), granted  the defendants'

            motions for judgment as a matter of law on Counts III, IV and

            V, reserved ruling on JHA's Rule 50(a) motion as to Count II,

            and submitted  Count II  to the jury.   The  jury found  JHA,

            Gross, and Eaton liable on Count  II and awarded compensatory

            and punitive  damages to  Andrade.  The  parties subsequently

            filed  motions for  attorney's fees,  and the  district court

            referred  the  motions to  the  magistrate for  a  report and

                                
            ____________________

            1.  Barrett  Gross  died  before  the  commencement  of  this
            litigation.  His estate has been sued as a party defendant.

            2.  Count  I,   charging  a  violation  of   Title  VII,  was
            voluntarily dismissed by Andrade on the first day of trial.

                                         -3-
                                          3















            recommendation.   The magistrate's report and recommendation,

            adopted by the  court, granted fees to Andrade  as prevailing

            plaintiff vis a vis  JHA, Gross, and Eaton and  to Self-Help,
                      ___ _ ___

            Jackson,   Anthony,   Holland,  Tiexiera,   and   Hillier  as

            prevailing defendants.

                      Andrade appeals  the grant of judgment  as a matter

            of  law on  Counts IV and  V as  well as  the attorney's fees

            award.  JHA cross-appeals the denial of the Rule 50(b) motion

            on  Count  II.     Self-Help  and  Jackson  cross-appeal  the

            attorney's fees award.  Finding no error, we affirm.

                                          I.
                                          I.
                                          __

                                      Background
                                      Background
                                      __________

            A.  The Relevant Facts
            ______________________

                      Self-Help, a non-profit  corporation, operates  the

            Senior Aide  Program ("the  Program") in the  East Providence

            area.   The  Program, which  is funded  by the  Department of

            Labor  through  the  National  Council  of  Senior   Citizens

            ("NCSC"),  seeks to  employ low-income seniors  in non-profit

            businesses and  municipal agencies as "Senior  Aides."  Under

            the Program, Senior Aides spend a maximum of  two years at an

            assignment, receiving on-the-job  and/or other training, with

            a  goal  of  attaining  placement in  unsubsidized  positions

            thereafter.

                      During  the summer  of  1990, Nancy  Newbury, JHA's

            Executive  Director, contacted Self-Help to inquire about the



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                                          4















            possibility of JHA becoming a host  agency under the Program.

            Bridget Kelly, Self-Help's Director of the  Senior Employment

            Program,  and  Newbury  agreed  that  JHA  would  create  two

            administrative assistant positions  for Senior Aides  at JHA.

            Newbury  then posted  the  positions,  and  Andrade  applied.

            After  Kelly determined  that  Andrade was  eligible for  the

            Program, Newbury interviewed Andrade and offered her the job.

            Andrade accepted.

                      At trial, Newbury and Kelly both testified that, at

            some point  during the hiring process,  Andrade informed them

            that she  was receiving  workers'  compensation benefits  and

            stated that she would only want to work at JHA so long as the

            wages she  would receive from Self-Help would  not reduce her

            existing benefits.  Newbury's  and Kelly's testimony diverged

            on how they responded to this information.

                      Newbury  testified that, with  Kelly and Andrade in

            her office, she called Andrade's case manager at the Workers'

            Compensation Commission ("the  Commission") on  speakerphone,

            and he assured them that Andrade's wages from Self-Help would

            not reduce  her  benefits.   Kelly,  however, denied  such  a

            conversation took  place and testified that  she had informed

            Andrade that  her review  of  the NCSC  Policy and  Procedure

            Manual ("NCSC Manual") suggested  that the benefits would not

            be counted  in determining  her income eligibility  under the





                                         -5-
                                          5















            Program, but  that Andrade  should contact the  Commission to

            see how it would handle her receipt of wages.

                      In July 1990,  Andrade began work at  JHA.  Shortly

            thereafter,   Newbury  resigned  as  Executive  Director  and

            brought  charges  of  racism   against  JHA,  requesting   an

            investigation of  its adherence  to fair  housing principles.

            On April 30,  1991, during hearings before the Jamestown Town

            Council, Andrade testified  that Commissioner Eaton had  made

            two racially discriminatory remarks in her presence.  

                      Meanwhile,  in  March  1991,  the  Commission  sent

            Andrade a "Report  of Earnings" form,  requesting information

            about her  Self-Help wages.   Because Andrade did  not return

            the form,  the Commission sent another  in April.   On May 1,

            1991, when Kelly's successor, Deborah Jackson, went to JHA to

            recertify Andrade for her second year of the Program, Andrade

            showed  Jackson the Report of Earnings form and asked for her

            assistance in filling it out.  Jackson  agreed to look at the

            form and took it with her.

                      While at JHA that day, Jackson  also met with Gross

            who requested  that Self-Help  transfer Andrade from  JHA for

            having testified against Eaton  the night before.  On  May 2,

            1991,  Gross  sent  Jackson  a   letter  memorializing  their

            conversation  which requested that  she "attempt  to transfer

            Senior Aid [sic] Helen Andrade from the Authority" and stated

            that  "Her testimony  against one  of our  commissioners, Mr.



                                         -6-
                                          6















            Eaton, who is ultimately  her superior has made  her presence

            here uncomfortable."

                      On  May  8, 1991,  having  examined  the Report  of

            Earnings  form, Jackson  notified Caroline  Pellegrino, Self-

            Help's  Director of  Senior  Services, that  Andrade had  not

            reported   her   Self-Help   earnings  to   the   Commission.

            Pellegrino  called the  Commission and  was informed  that it

            could hold Self-Help liable for the wages paid to an employee

            who   was   receiving    workers'   compensation    benefits.

            Pellegrino,  in  turn,   notified  Dennis  Roy,   Self-Help's

            Executive Director, and  Roy referred her to Mary  Mulvey, an

            NCSC representative.  Mulvey  informed Pellegrino that  Self-

            Help  might also be liable to NCSC for Andrade's wages should

            inclusion of her workers' compensation benefits in the income

            eligibility  assessment  render  Andrade ineligible  for  the

            Program.   Mulvey  recommended Andrade's  termination pending

            resolution  of  the  issue.    Roy  agreed  and  had  Jackson

            telephone Andrade with the news.

                      Referring   generally   to   a  problem   regarding

            Andrade's receipt of workers' compensation  benefits, Jackson

            asked Andrade to go home for  the day and said that she would

            be phoning  her with  more  details.   Later that  afternoon,

            Jackson told Andrade  that she was terminated  because of her

            failure to report  her wages  to the Commission.   Five  days

            later,  Jackson  sent Andrade  a  letter  stating that  "Your



                                         -7-
                                          7















            failure to notify R.I. Workers  [sic] Compensation Department

            of  your entering the Senior  Aide Program is  the reason for

            the termination."

                      Having  learned  of Andrade's  termination, Newbury

            appeared before Gross  and the Commissioners at  the next JHA

            board meeting  and petitioned for Andrade's  reinstatement to

            her  former position.   Newbury  testified that  Commissioner

            Hillier responded to her  plea by stating that "it would be a

            cold day in hell when anybody testifies against us and thinks

            they are going to have a job here."

            B.  Prior Proceedings
            _____________________

                      Andrade's   complaint   charged  JHA,   Gross,  the

            Commissioners,  Self-Help, and  Jackson  with  violations  of

            Title VII (Count I -- which she later dismissed voluntarily),

            42  U.S.C.     1985(3)  (Count III),  wrongful  and  tortious

            discharge,  intentional infliction of emotional distress, and

            interference  with  contract  (Count  IV);  JHA,  Gross,  and

            Commissioners  Holland,  Hillier,  Eaton, and  Tiexiera  with

            violation  of 42 U.S.C.   1983 (Count II); and Self-Help with

            breach  of express  and implied  contract  (Count V).   After

            discovery,  a seven-day jury trial  ensued.  At  the close of

            the evidence,  all of  the  defendants sought  judgment as  a

            matter of law under Fed. R. Civ. P. (50)(a) on Counts III and

            IV; JHA  brought a Rule 50(a)  motion on Count  II, and Self-

            Help brought  a Rule 50(a) motion  on Count V.   The district



                                         -8-
                                          8















            court delivered a detailed oral opinion, granting the motions

            as to  Counts III, IV, and V, and reserving decision on Count

            II until after the jury returned its verdict.  

                      As to Count V, the court concluded that (i) Andrade

            had failed to  provide any evidence that  an express contract

            for a  definite duration  existed between her  and Self-Help,

            (ii) the fact that  the NCSC Manual and the  Self-Help Senior

            Employment Program Personnel Policy ("the  Self-Help Policy")

            limited Andrade's employment at JHA to two years and provided

            for  an annual  recertification  review did  not establish  a

            definite  term of  employment, (iii) Andrade  and Self-Help's

            mutual mistake as to whether Andrade's earnings would be paid

            to  the  Commission  prevented  a  meeting  of  the  minds, a

            necessary element  to the formation  of a contract,  and (iv)

            even  assuming  arguendo  that  a contract  existed,  Andrade
                            ________

            suffered no damage  in its breach  because any earnings  that

            she   was  denied  would  have  to  have  been  paid  to  the

            Commission.  In ruling on Count IV, the court found that  (i)

            no cause of action for wrongful  discharge exists under Rhode

            Island  law, (ii) Andrade  failed to provide  evidence of any

            injury  of sufficient  magnitude  to satisfy  the element  of

            intentional  infliction  of   emotional  distress   requiring

            physical manifestation  of injury  and failed to  provide any

            expert medical testimony showing a causal connection  between

            Andrade's  symptoms, some  of which  existed well  before her



                                         -9-
                                          9















            termination,  and  defendants'  actions,  and  (iii)  because

            Andrade  did not have a contract with Self-Help that gave her

            an  expectation of  continued employment,  there could  be no

            tortious interference with that contract.

                      With only Count  II before it, the  jury returned a

            verdict for Andrade vis a vis JHA, Gross, and Eaton.  Hillier
                                ___ _ ___

            and  Tiexiera  were found  not  liable.    The  jury  granted

            compensatory damages of  $7,183 against the three  defendants

            and punitive  damages of $250  each against Gross  and Eaton.

            After excusing the jury,  the district court returned  to the

            unresolved Rule 50 motion on Count  II.  The court denied the

            motion,  finding  that Gross's  letter  of  May 2,  1991  and

            Commissioner  Hillier's  response  to  Newbury's  request  to

            reinstate Andrade were sufficient to permit a reasonable jury

            to  find that  Andrade was  terminated because  she testified

            against Commissioner Eaton at  a public hearing.  Thereafter,

            the court  referred the parties' motions  for attorney's fees

            to the magistrate for a report and recommendation.

                      After  a  hearing,   the  magistrate  found   that,

            although she  was a  prevailing plaintiff under  42 U.S.C.   

            1988, Andrade had succeeded  in only one of her  five claims,

            had received only $7,183 in compensatory damages and $500  in

            punitive damages, and had brought frivolous claims.  Based on

            these  findings,  the  magistrate  granted  Andrade  a modest

            attorney's fees award of $2,500.  Finding that Counts I, III,



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                                          10















            and IV  were frivolous,  the magistrate concluded  that Self-

            Help,  Jackson, Holland, Hillier,  Anthony, and Tiexiera were

            prevailing defendants  under    1988 and  42 U.S.C.    2000e-

            5(k).  Mindful of  Andrade's limited financial resources, the

            magistrate granted  Self-Help and Jackson a $1,000 attorney's

            fee for their defense  of Counts I and III  and Commissioners

            Holland, Hillier,  Anthony, and Tiexiera a  $1,500 attorney's

            fee for their defense of Counts I, III, and IV.  The district

            court adopted the magistrate's report and recommendation.

                                         II.
                                         II.
                                         ___

                                      Discussion
                                      Discussion
                                      __________

            A.  Judgment as a Matter of Law
            _______________________________

                      1.  Andrade's Appeal
                      ____________________

                      On appeal, Andrade contends that the district court

            erred in granting  judgment as a  matter of law on  Counts IV

            and  V  of her  complaint.   After  reciting the  standard of

            review, we consider these contentions separately.

                      We review  the grant  of a  Rule  50(a) motion  for

            judgment as a matter of law de novo, under the same standards
                                        __ ____

            as the district  court.   See Coastal Fuels  of Puerto  Rico,
                                      ___ _______________________________

            Inc. v. Caribbean Petroleum Corp., No. 95-1460, slip op. at 6
            ____    _________________________

            (1st  Cir. Mar. 12, 1996).   The evidence  and the inferences

            reasonably to be drawn therefrom  are considered in the light

            most  favorable to the non-movant.   The court, however, must

            "not consider the credibility of witnesses, resolve conflicts



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                                          11















            in  testimony,  or  evaluate  the weight  of  the  evidence."

            Wagenmann  v. Adams,  829 F.2d 196,  200 (1st Cir.  1987).  A
            _________     _____

            verdict may  be directed  only if  the evidence,  viewed from

            this perspective, "would not permit a reasonable jury to find

            in  favor of  the  plaintiff[] on  any  permissible claim  or

            theory."  Murray v. Ross-Dove Co., 5  F.3d 573, 576 (1st Cir.
                      ______    _____________

            1993).

                           a.  Contract Claim
                           __________________

                      Andrade contends that the evidence she submitted on

            Count V  was legally sufficient  to permit a  jury to find  a

            breach of contract, and therefore the district court erred in

            granting  Self-Help judgment as a  matter of law  on Count V.

            Because  we agree with the  court below that  Andrade did not

            prove a prima facie case of breach of contract, we affirm the

            court's grant of the Rule 50(a) motion on Count V.

                      Under Rhode Island law, it is well established that

            "a promise  to  render personal  services to  another for  an

            indefinite  term is  terminable at  any time  at the  will of

            either party and therefore creates no executory obligations."

            School Comm. of Providence v. Board of Regents for Educ., 308
            __________________________    __________________________

            A.2d 788, 790 (R.I. 1973); see also Lamoureux v. Burrillville
                                       ___ ____ _________    ____________

            Racing  Ass'n,  161  A.2d  213,  216  (R.I.  1960);  Booth v.
            _____________                                        _____

            National  India-Rubber  Co.,  36  A. 714,  715  (R.I.  1897).
            ___________________________

            Although she  presented no evidence of  an express employment

            contract for  a fixed  period between herself  and Self-Help,



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                                          12















            Andrade  argues  that  certain  provisions in  the  Self-Help

            Policy  and the NCSC Manual, both of which were admitted into

            evidence, created a triable issue as to whether she and Self-

            Help  had an implied contract for a fixed period3 and whether

            she could only be terminated for just cause.4

                      Apparently recognizing  it to be an  issue of first

            impression, however, the Rhode Island Supreme Court expressly

            avoided  the question of  whether to adopt  the emerging case

            law that  employment manuals  or policies  may  give rise  to

            enforceable  contract rights,  Roy  v. Woonsocket  Inst.  for
                                           ___     ______________________

            Sav., 525 A.2d 915, 918 (R.I.  1987), and, as a federal court
            ____

            hearing  this   state  law   issue  under  our   supplemental

            jurisdiction,  we  are  reluctant to  extend  Rhode  Island's

            contract law "beyond its well-marked boundaries."  Markham v.
                                                               _______

            Fay, 74 F.3d 1347, 1356 (1st Cir. 1996); cf. A. Johnson &amp; Co.
            ___                                      ___ ________________

            v. Aetna  Casualty and  Sur. Co., 933  F.2d 66, 73  (1st Cir.
               _____________________________

            1991) (holding that this  court, sitting in diversity, should

                                
            ____________________

            3.  In   particular,  Andrade   claims   that  the   two-year
            durational limit upon her employment  at JHA and the one-year
            recertification review by  Self-Help supplied the  durational
            term.

            4.  Andrade identifies  an "employability plan" that  she and
            Newbury devised and Self-Help adopted as an additional source
            of  her alleged contract  rights.   Testimony, viewed  in the
            light  most  favorable to  Andrade,  revealed  that the  plan
            detailed   Newbury's  and   Andrade's  goals   for  Andrade's
            employment  at JHA.  The ultimate goal identified in the plan
            was training  Andrade to become a  certified housing manager.
            Nothing  in the  plan,  however, suggested  that Andrade  was
            guaranteed  employment at JHA for a definite term or that she
            would only be terminated for cause.  

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                                          13















            not  "torture  state  law  into   strange  configurations  or

            precipitously to blaze new and  unprecedented jurisprudential

            trails"); Mason v. American Emery  Wheel Works, 241 F.2d 906,
                      _____    ___________________________

            909-10 (1st Cir.)  (noting that a  diversity court must  take

            state law as  it finds it, "not  as it might  conceivably be,

            some day; nor even as it should  be"), cert. denied, 355 U.S.
                                                   _____ ______

            815  (1957).  Because Andrade has not convinced us that Rhode

            Island would so extend  its contract law, we decline to do so

            here.

                           b.  Tort Claims
                           _______________

                      Andrade also contends that she submitted sufficient

            evidence  to permit a jury  to find the  torts of intentional

            infliction  of  emotional  distress,  wrongful  and  tortious

            discharge, and interference with  contract, and therefore the

            district court erred in granting the defendants judgment as a

            matter of  law on Count IV.   We consider each  tort claim in

            turn.

                      Rhode Island  recognizes  a  cause  of  action  for

            intentional   infliction   of  emotional   distress  ("IIED")

            patterned after    46  of the Restatement  (Second) of  Torts

            (1965).   Champlin v. Washington Trust Co., 478 A.2d 985, 988
                      ________    ____________________

            (R.I. 1984).   To prevail on  a claim of IIED,  the plaintiff

            must  prove that  the  defendant, by  extreme and  outrageous

            conduct,  intentionally or  recklessly  caused the  plaintiff

            severe  emotional  distress.   Id.  at  989.    Rhode  Island
                                           ___



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                                          14















            requires  that to  be "severe,"  the emotional  distress must

            evoke some physical manifestation.   Reilly v. United States,
                                                 ______    _____________

            547 A.2d 894, 898-99  (R.I. 1988); Curtis v. State  Dep't for
                                               ______    ________________

            Children, 522 A.2d 203, 208 (R.I. 1987).  
            ________

                      At  trial, Andrade testified  on direct examination

            that as a result of her termination from employment at JHA in

            May 1991, she experienced irritated bowels, diarrhea, tension

            headaches, and sleeplessness.  Andrade  stated, however, that

            the diarrhea and tension  headaches began in the latter  part

            of  1990,   months  before   her  termination.     On  cross-

            examination,  Andrade  also   conceded  that  prior   to  the

            occurrence of  the events  alleged in  the complaint  she had

            experienced   stomach   problems.     Specifically,   Andrade

            acknowledged that she had gastric  surgery in 1978, 1980, and

            1981 for which she continues to take medication.  

                      Andrade relied exclusively on her own  testimony to

            prove her IIED claim.  The district court, in ruling on the 

            defendants'  Rule 50(a) motion, found that Andrade's testimony

            -- 

            that she  had  experienced these  symptoms  contemporaneously

            with her  termination and  her termination  was the  cause of

            these  symptoms  --  was  insufficient  to  prove  causation,

            particularly   given  Andrade's  prior   history  of  stomach

            problems, headaches,  and diarrhea.   In directing  a verdict

            against Andrade  on  the  IIED claim,  the  court  cited  her



                                         -15-
                                          15















            failure to produce expert medical testimony that her symptoms

            were in fact caused by the defendants' conduct.

                      Rhode Island case law is  silent on the question of

            the  necessity of  expert  testimony to  prove the  causation

            element of IIED.   Section 46 of the Restatement  (Second) of

            Torts, on which Rhode Island's IIED claim is  patterned, also

            fails   to  provide  any  clues;  nowhere  in     46  is  the

            introduction  of  expert medical  testimony required  or even

            mentioned.  Despite this silence, however, we find that under

            the particular  facts of  this case expert  medical testimony

            was indispensable to the proof of causation.

                      Had the district court allowed the IIED claim to go

            to the jury at the close of the evidence, the jury would have

            been faced with the daunting  task of ascertaining the degree

            to  which  Andrade's  physical  symptoms were  the  proximate

            result of  her termination  as opposed  to her prior  gastric

            surgeries,   chronic  maladies,  or   other  outside  forces.

            Understanding  the  relationship  between Andrade's  physical

            symptoms and the competing causal factors without the benefit

            of  medical expertise,  however, was  beyond  the ken  of the

            jury.5   See Vaughn v.  Ag Processing, Inc.,  459 N.W.2d 627,
                     ___ ______     ___________________

            636-37 (Iowa 1990) (holding that expert medical testimony was

                                
            ____________________

            5.  In so holding, we are not establishing a bright-line rule
            that  expert  testimony  is  always necessary  to  prove  the
            causation prong of IIED.   There may very well  be situations
            where causation is within the common knowledge and experience
            of the layperson; this case, however, is not one of them.

                                         -16-
                                          16















            required to establish  causation between  harassment at  work

            and  physical  symptoms  "that  peaked  three   months  after

            [plaintiff] left his employment");  Mayer v. Town of Hampton,
                                                _____    _______________

            497  A.2d 1206,  1211  (N.H.  1985)  (holding that  proof  of

            causation in an IIED  claim "will usually be based  on expert

            testimony"); but  see Tanner v.  Rite Aid  of West  Virginia,
                         ___  ___ ______     ____________________________

            Inc., 461 S.E.2d 149, 160-61 (W. Va. 1995) (holding that jury
            ____

            could properly evaluate  IIED claim without expert  testimony

            despite  plaintiffs' prior  history  of emotional  problems).

            Because Andrade's own testimony and conclusions regarding the

            cause   of  her   physical  symptoms,  by   themselves,  were

            insufficient  to allow  a jury  to find  the requisite  nexus

            between her  distress and  the  May 8,  1991 termination,  an

            element of the prima  facie case for IIED was  not satisfied,

            and the district court correctly granted the defendants' Rule

            50(a) motion on the IIED claim.

                      Turning  to  the  remaining  tort  claims,  we note

            Andrade's  acknowledgment that the Rhode Island Supreme Court

            has unequivocally held  that no  cause of  action exists  for

            wrongful  discharge in Rhode Island.  Pacheo v. Raytheon Co.,
                                                  ______    ____________

            623  A.2d  464,  465   (R.I.  1993).    Nonetheless,  Andrade

            maintains that  she presented sufficient evidence  for a jury

            to find the nonexistent cause of action.  In conjunction with

            her wrongful  discharge claim, Andrade  alleged violations of

            Rhode Island's Fair Housing Practices Act and Fair Employment



                                         -17-
                                          17















            Practices  Act.   Andrade argues  that infusing  her wrongful

            discharge claim with references to independent  violations of

            state laws made  it cognizable.   We disagree.   Pacheo  made
                                                             ______

            clear  that there is no common law tort of wrongful discharge

            in Rhode  Island and that protection  against discharges that

            contravene public policy is for the General Assembly, not the

            courts.6   623  A.2d  at 465.    Accordingly, we  affirm  the

            district court's  grant of the defendants'  Rule 50(a) motion

            on the wrongful discharge claim.

                      Finally,   Andrade   claims   that  she   presented

            sufficient evidence for a  jury to find tortious interference

            with contract.   Our  earlier determination that  Andrade did

            not present sufficient evidence  of an enforceable employment

            contract,  however, is dispositive of this claim as well.  In

            Rhode Island, the existence  of a contract, not surprisingly,

            is an element of the tort of interference with contract.  See
                                                                      ___

            Smith  Dev. Corp. v. Bilow  Enters., Inc., 308  A.2d 477, 482
            _________________    ____________________

            (R.I.  1973).   Given  Andrade's  failure  to establish  this

            element at trial,  the district court  was correct in  taking

            the interference with contract claim away from the jury.

                      Andrade   also  argues   that  she   has  presented

            sufficient evidence to prove the similar but distinct tort of


                                
            ____________________

            6.  We  express  no  view  on  whether  violations  of  Rhode
            Island's  Fair  Housing  Practices Act  and  Fair  Employment
            Practices   Act,  alleged   independently  of   the  wrongful
            discharge claim, could have been established.

                                         -18-
                                          18















            interference with prospective contractual relations. Andrade,

            however,  not only failed  to raise this  argument below, see
                                                                      ___

            United  States v.  Palmer,  956 F.2d  3,  6 (1st  Cir.  1992)
            ______________     ______

            (holding  that  argument not  raised  below  is waived),  she

            failed to assert  this claim in her  complaint.  Accordingly,

            we refuse to consider this argument.

                      2.  JHA's Cross-Appeal
                      ______________________

                      JHA argues that Andrade did  not present sufficient

            evidence that it acted to deprive Andrade of her civil rights

            in  violation  of    1983, and  therefore the  district court

            erred  in failing to grant its Rule 50(b) post-verdict motion

            on  Count II.  We review  the denial of a post-verdict motion

            for judgment as a matter of law de novo, see  Lama v. Borras,
                                            __ ____  ___  ____    ______

            16 F.3d  473, 477 (1st  Cir. 1994),  and we must  sustain the

            court's denial of a Rule 50(b) motion "`unless  the evidence,

            together  with  all reasonable  inferences  in  favor of  the

            verdict,  could   lead  a  reasonable  person   to  only  one

            conclusion,  namely, that  the moving  party was  entitled to

            judgment,'" id. (quoting  PH Group  Ltd. v.  Birch, 985  F.2d
                        ___           ______________     _____

            649, 653 (1st Cir. 1993)).

                      During  its deliberations  on  Count  II, the  jury

            asked the court  how to distinguish  JHA from the  individual

            Commissioners.  The district  court responded that the action

            of a majority of the five Commissioners constituted an action

            of  JHA.   JHA argues  therefrom that  because the  jury only



                                         -19-
                                          19















            found  one of the Commissioners liable when it needed to find

            three Commissioners liable  in order to find that  JHA acted,

            the jury could not have found  JHA liable as it did.  Because

            we find  that Andrade provided ample evidence  from which the

            jury could have concluded that JHA violated   1983, we affirm

            the district court's denial of JHA's Rule 50(b) motion.

                      Andrade  presented  three  significant   pieces  of

            direct  evidence:  (1) Gross's May 2, 1991, letter to Jackson

            requesting  Andrade's  transfer  from  JHA  because   of  her

            testimony against Commissioner Eaton at a public hearing, (2)

            Andrade's  tape recording  of her  May 1,  1991, conversation

            with Gross,  during which  he stated that  "[I]t's [Andrade's

            testimony]  been  a  problem  with the  Commissioners.    The

            Commissioners, the five Commissioners,  hire and fire me and,

            in essence, they hire and fire you, or they hire and transfer

            you . . . ," and (3) Commissioner Hillier's refusal  at a JHA

            Board  Meeting to  consider  reinstating Andrade  due to  her

            testimony against Commissioner Eaton.  Assuming arguendo that
                                                            ________

            under   1983 a  majority of the Commissioners was  needed for

            JHA to have  acted, the  jury could have  inferred from  this

            evidence  that (1)  a  majority of  the Commissioners  shared

            Gross's views  or two  of  the Commissioners  present at  the

            Board  Meeting  shared  Commissioner  Hillier's  views,7  (2)


                                
            ____________________

            7.  Indeed, no  evidence was presented  that any Commissioner
            publicly renounced Hillier's comment.

                                         -20-
                                          20















            these  same  Commissioners  had  authorized  their  Executive

            Director, Gross, to request Andrade's transfer in retaliation

            for her testimony, and (3)  Gross's May 1, 1991, conversation

            with  Jackson  as memorialized  in  his May  2,  1991, letter

            caused Self-Help to terminate Andrade.

                      To the extent that JHA is also complaining that the

            verdict   is  inconsistent   in  that   it  finds   only  one

            Commissioner  liable at the same time as it finds JHA liable,

            that  argument is waived because  of JHA's failure  to make a

            timely objection  to the alleged inconsistency.   See Bonilla
                                                              ___ _______

            v.  Yamaha Motors Corp., 955 F.2d 150, 155-56 (1st Cir. 1992)
                ___________________

            (holding that a party waives the issue of inconsistency if it

            fails to object after the verdict is read and before the jury

            is dismissed).

            B.  Attorney's Fees
            ___________________

                      We  review a fee award  only for mistake  of law or

            abuse of discretion, see  Krewson v. City of Quincy,  74 F.3d
                                 ___  _______    ______________

            15,  17 (1st Cir. 1996), and accord deference to the district

            court's "extremely broad" discretion in this area, Lipsett v.
                                                               _______

            Blanco,  975  F.2d 934,  937  (1st  Cir.  1992).   "[B]ecause
            ______

            determination of  the extent of a  reasonable fee necessarily

            involves a series  of judgment calls,  an appellate court  is

            far more likely to defer to the trial court  in reviewing fee

            computations than  in many  other situations."   Lipsett, 975
                                                             _______





                                         -21-
                                          21















            F.2d at 937.  Here, Andrade as well as  Self-Help and Jackson

            challenge the court's fee award.

                      1.  Andrade's Appeal
                      ____________________

                      Andrade  challenges the fee award on three grounds.

            She argues  that the  district court  misapplied the  law and

            abused its discretion in (1) setting the hourly rate at $125,

            (2)  reducing  her fee  award  for partial  success,  and (3)

            awarding  attorney's  fees  to  Self-Help,  Jackson, Holland,

            Anthony, Hillier, and Tiexiera  as prevailing defendants.  We

            consider each challenge in turn.

                           a.  Reasonableness of Hourly Rate
                           _________________________________

                      In his  report and  recommendation, adopted by  the

            district court,  the magistrate set a  reasonable hourly rate

            for Andrade's  counsel at $125.   Andrade's counsel suggested

            an  hourly  rate  of  $200  for  his  services,   citing  his

            experience,  a $200/hr.  rate he  had received  in  a similar

            case, and affidavits from two  civil rights attorneys in  the

            community   attesting  that   they  charged  $175/hr.     The

            magistrate,  however,   noted  that   JHA,  Gross,  and   the

            Commissioners requested a $125  hourly rate and Self-Help and

            Jackson  requested a rate within the $100 to $125 range.  The

            magistrate set  the rate for Andrade's  attorney at $125/hr.,

            reasoning that  $200/hr. is not  a reasonable rate  for civil

            rights  litigation in  the  Providence, Rhode  Island,  area,

            Andrade  had not  provided  adequate support  for the  higher



                                         -22-
                                          22















            rate, and no reason presented itself why Andrade's attorney's

            rate  should  be  more  than the  defense  attorneys'  rates.

            Andrade  argues on appeal that in basing her counsel's fee on

            the amounts proposed by the defendants, the magistrate failed

            to  apply the  prevailing  community rate  for federal  civil

            rights  litigation and  to  account for  the contingency  and

            delay-in-payment  factors that distinguish her counsel's rate

            from that of the defense attorneys.

                      In  determining  a   reasonable  hourly  rate,  the

            Supreme Court has recommended that courts use "the prevailing

            market  rates  in the  relevant  community"  as the  starting

            point.   Blum  v.  Stetson, 465  U.S.  886, 895  n.11  (1984)
                     ____      _______

            (defining "prevailing  market rates" as "those  prevailing in

            the community  for similar services by  lawyers of reasonably

            comparable  skill,  experience and  reputation").    While an

            attorney  may  inform  the  court's  analysis   by  providing

            evidence  of her  customary  billing rate  and of  prevailing

            rates in the community,  the court is not obligated  to adopt

            that rate.  Moreover,  the court is entitled to rely upon its

            own knowledge of  attorney's fees in its surrounding  area in

            arriving at a reasonable hourly rate, see Nydam v. Lennerton,
                                                  ___ _____    _________

            948  F.2d 808,  812-13  (1st  Cir.  1991); United  States  v.
                                                       ______________

            Metropolitan Dist. Comm'n,  847 F.2d 12, 19  (1st Cir. 1988),
            _________________________

            as well  as the defense  attorneys' rates,  cf. Liberty  Mut.
                                                        ___ _____________

            Ins.  Co. v. Continental Casualty Co., 771 F.2d 579, 588 (1st
            _________    ________________________



                                         -23-
                                          23















            Cir. 1985) (comparing  plaintiff's counsel's fee estimate  to

            defendant  counsel's estimate in  attempting to ascertain how

            much of jury's damage  verdict was based on fees  that should

            not have been allowed).

                      The magistrate  in the  present case did  not stray

            from  these principles  in  determining  a reasonable  hourly

            rate.   To the contrary,  he determined the prevailing market

            rate  for federal  civil rights  litigation by  utilizing his

            knowledge and  experience  of the  Providence, Rhode  Island,

            market  while considering  the  customary rates  of Andrade's

            counsel,  the  defense attorneys,  and  two Providence  civil

            rights  attorneys.    Accordingly,  we cannot  say  that  the

            district  court,  in  adopting the  magistrate's  report  and

            recommendation, misapplied  the law or abused  its discretion

            in setting an hourly rate of $125 for Andrade's counsel.  

                      As for Andrade's  contention that the  magistrate's

            reliance on  the defense  attorneys' rates failed  to account

            for her  counsel's contingency and  delay-in-payment factors,

            the Supreme Court has held that an attorney's contingent risk

            is ordinarily  subsumed  (at least  to  some extent)  in  the

            "lodestar" calculation, City of Burlington v. Dague, 505 U.S.
                                    __________________    _____

            557, 562-63  (1992), which  is determined by  multiplying the

            total number of hours reasonably spent by a reasonable hourly

            rate, Hensley v. Eckerhart, 461 U.S. 424, 433 (1983) (holding
                  _______    _________

            that  the  lodestar  provides  the basis  for  determining  a



                                         -24-
                                          24















            reasonable fee).  In  particular, the Dague Court  found that
                                                  _____

            an  attorney's  contingent risk  results  in  part8 from  the

            difficulty of establishing the merits  of the claim, and this

            difficulty is ordinarily reflected in the lodestar, i.e., "in
                                                                ____

            the  higher   number  of  hours  expended   to  overcome  the

            difficulty,  or in  the  higher hourly  rate of  the attorney

            skilled and experienced enough to do so."  Dague, 505 U.S. at
                                                       _____

            562-63.  Accordingly, for  Andrade's argument to survive, she

            must establish that the magistrate improperly assessed either

            one or both of these two factors.  Upon reviewing the record,

            we perceive no such error.

                      Andrade  cannot  complain  about  the  magistrate's

            determination of  the first prong of the  lodestar because he

            accepted  as reasonable  the  211.90 hours  that her  counsel

            requested.   Nor  can  she complain  about  the second  prong

            because we have  already found the magistrate's choice of the

            $125/hr. rate to  be reasonable.   Because we  find that  the

            difficulty of the    1983  claim was fully  reflected in  the

            number of  billable hours  recorded by Andrade's  counsel and

            his  special  skill  and  experience  was  reflected  in  the

            reasonableness  of  the  hourly rate,  Andrade's  contingency

            argument must fail.

                                
            ____________________

            8.  An  attorney's  contingent  risk also  results  from "the
            legal and factual merits of  the claim."  Dague, 505 U.S.  at
                                                      _____
            562.   The Court, however,  expressly found that  this factor
            "should  play no part in the calculation of the [fee] award."
            Id. at 563.  
            ___

                                         -25-
                                          25















                           b.  Amount of Award
                           ___________________

                      In  determining the amount  of Andrade's fee award,

            the magistrate  carefully followed the  multi-factor analysis

            laid  out in  Hensley  v.  Eckerhart,  461 U.S.  424,  429-37
                          _______      _________

            (1983), the  seminal case  on awarding attorney's  fees under

            the Civil Rights Attorney's Fees Awards Act of 1976, codified

            at 42 U.S.C.    1988.  The  magistrate began his analysis  by

            calculating the  lodestar.   See  Hensley, 461  U.S. at  433.
                                         ___  _______

            Multiplying 211.90  hours by  $125, the magistrate  reached a

            lodestar of $26,487.50.

                      After  finding  that  Andrade's  five  claims  were

            interrelated because  they involved  a common core  of facts,

            see id. at  434-36, the magistrate  then weighed the  factors
            ___ __

            that  might lead to an  adjustment of the  lodestar upward or

            downward,  beginning  with  the  crucial  "results  obtained"

            factor,  id. at 434.   Noting that Andrade  prevailed on only
                     ___

            one of her five claims  and the jury awarded her only  a very

            modest amount  of  compensatory  and  punitive  damages,  the

            magistrate concluded that Andrade  had achieved an  extremely

            limited degree of success.  Concluding that three of her five

            claims  were  frivolous,  the   magistrate  then  found  that

            Andrade's  fees  and expenses  would have  been significantly

            reduced  had she  "conducted a  meaningful evaluation  of the

            case"  and elected  to bring  only her  non-frivolous claims.





                                         -26-
                                          26















            Based  on these  considerations,  the  magistrate  downwardly

            adjusted the lodestar to $2,500.  

                      On appeal, Andrade argues that the $2,500 fee award

            compensated her  attorney for a meager twenty  hours of work,

            far  too few  to litigate  a federal  civil rights  suit from

            complaint to jury verdict.  Accordingly, she claims that this

            ninety-one percent reduction of the lodestar, from $26,487.50

            to  $2,500, was a misapplication  of Hensley and  an abuse of
                                                 _______

            discretion.  We disagree.

                      Hensley makes clear that where multiple claims  are
                      _______

            interrelated  and  a  plaintiff  has  achieved  only  limited

            success,  awarding  her  the  entire  lodestar  amount  would

            ordinarily be excessive.   Id. at  436.  Hensley,  therefore,
                                       ___           _______

            counsels that, while  "[t]here is no precise  rule or formula

            for  making these  determinations," a  court "may  attempt to

            identify specific hours  that should be eliminated, or it may

            simply reduce the award to account for  the limited success."

            Id.  In  short, the test that emerged from  Hensley is that a
            ___                                         _______

            court  should  award  only  that  amount   of  fees  that  is

            reasonable  in relation to the results obtained.  Id. at 435,
                                                              ___

            438-40  (counselling   district  courts  to  "focus   on  the

            significance of the overall  relief obtained by the plaintiff

            in  relation   to  the  hours  reasonably   expended  on  the

            litigation").





                                         -27-
                                          27















                      Although we may not have chosen  to reduce the size

            of  Andrade's fee award so appreciably, we need not interfere

            with  a  fee award  if  the  district court's  determinations

            "seem[]   plausible,  given   what  has  transpired   in  the

            litigation."   Metropolitan Dist. Comm'n, 847 F.2d at 18.  In
                           _________________________

            the  present  case,  the  magistrate  carefully  weighed  the

            correct  factors  and arrived  at  a result  barely  within a

            supportable range.  See generally  Farrar v. Hobby, 506  U.S.
                                ___ _________  ______    _____

            103, 115 (1992) (holding that when a   1983 plaintiff obtains

            only nominal damages of one dollar,  "the only reasonable fee

            is usually no fee at all");  Lewis v. Kendrick, 944 F.2d 949,
                                         _____    ________

            954-56  (1st Cir.  1991)  (denying all  fees where  plaintiff

            recovered only  $1,000 and submitted a request  for a $50,000

            fee award); Zook  v. Brown,  865 F.2d 887,  895-96 (7th  Cir.
                        ____     _____

            1989)  (affirming  a 75%  reduction  in  attorney's fees  for

            limited  success).    In  determining  a  reasonable  fee  in

            relation  to the  results  Andrade obtained,  the  magistrate

            justifiably considered  Andrade's success in only  one out of

            five claims as  well as  the frivolity of  three of her  five

            claims, see Part II.B.1.c. infra.  He was equally entitled to
                    ___                _____

            take into account the  relative size of the damage  award and

            fee request.  See Foley v. City of Lowell, 948 F.2d 10, 19-20
                          ___ _____    ______________

            (1st Cir.  1991).  Considering  the combined weight  of these

            three factors  and mindful  of the district  court's intimate

            knowledge of the  litigation and its  nuances, we cannot  say



                                         -28-
                                          28















            that the  court's adoption  of the magistrate's  reduction of

            the lodestar was an abuse of discretion.

                           c.  Award of Fees to Prevailing Defendants
                           __________________________________________

                      Under   1988, a district court may award attorney's

            fees  to   a  prevailing   defendant  upon  a   finding  that

            plaintiff's action  "was frivolous, unreasonable,  or without

            foundation, even though not brought in subjective bad faith."

            Christiansburg Garment Co. v. EEOC, 434 U.S. 412, 421 (1978).
            __________________________    ____

            For a  claim  to be  "frivolous"  under    1988, it  must  be

            frivolous when originally raised in the  district court.  See
                                                                      ___

            id. at 421-22;  Casa Marie Hogar Geriatrico, Inc.  v. Rivera-
            ___             _________________________________     _______

            Santos,  38  F.3d  615,  619-20 (1st  Cir.  1994).    Andrade
            ______

            challenges the magistrate's award of attorney's fees to Self-

            Help,  Jackson,  Holland,  Anthony,  Hillier,  and  Tiexiera,

            arguing that her    1985(3) claim and common law  tort claims

            were  colorable and  therefore  the district  court erred  in

            granting attorney's fees to the prevailing defendants.

                      Noting   that  Andrade  failed  to  allege  in  her

            complaint that her  discharge was  based on  "some racial  or

            otherwise  class-based  invidiously  discriminatory  animus,"

            Griffin v. Breckenridge,  403 U.S. 88, 102  (1971), a crucial
            _______    ____________

            element of   1985(3), and Andrade conceded that the claim was

            "facially defective," the magistrate concluded that Andrade's

               1985(3) claim was frivolous when  brought.  The magistrate

            also found  the tort claims of  Count IV to be  frivolous for



                                         -29-
                                          29















            essentially the same reasons  that the district court granted

            the Rule  50(a) motion on Count  IV.  We  consider each count

            separately in assessing the magistrate's frivolity findings.

                      A  cause  of  action   under     1985(3)  has  four

            elements:   (1)  two or  more persons  must conspire,  (2) to

            deprive, either  directly or indirectly, any  person or class

            of persons of the  equal protection of  the laws or of  equal

            privileges  and immunities under the laws, (3) one or more of

            the conspirators must have done  or caused to be done an  act

            in furtherance of the  object of the conspiracy, and  (4) the

            plaintiff  must have suffered  either an injury  to person or

            property  or a  deprivation of  a  constitutionally protected

            right  or privilege  as  a result  of  the conspiracy.    See
                                                                      ___

            Griffin, 403 U.S. at 102; Romero-Barcelo v. Hernandez-Agosto,
            _______                   ______________    ________________

            75  F.3d  23, 34  (1st  Cir. 1996).    The Supreme  Court has

            construed  the second element to  require that "there must be

            some racial  or  perhaps otherwise  class-based,  invidiously

            discriminatory  animus  behind  the   conspirators'  action."

            Griffin, 403 U.S. at 102.
            _______

                      As to racial animus,  Andrade's complaint is devoid

            of any allegations that the Commissioners together with Gross

            conspired  to terminate  her  because she  had testified,  on

            behalf   of   African-Americans,   that  Commissioner   Eaton

            exhibited racial bias.  Nor did Andrade present  any evidence

            that could  be viewed  as supporting  a racial animus  claim.



                                         -30-
                                          30















            Andrade argues that she "does not have to be a  member of the

            black race  to  maintain  an  action  under     1985(3)"  and

            therefore  her claim  was not  frivolous.   While that  is an

            accurate  statement of  the law, see  Cutting v.  Muzzey, 724
                                             ___  _______     ______

            F.2d  259, 260  (1st Cir.  1984) (finding  that members  of a

            conspiracy to  deprive minorities of equal  rights are liable

            under    1985(3) to persons who are injured in furtherance of

            the  object of the conspiracy, whether they be Caucasian or a

            member of  the minority group), it does not address Andrade's

            failure to allege such a racial animus in her complaint or to

            present any such evidence at trial.

                      Without a charge of  racial animus, Andrade  needed

            to  allege discriminatory  class-based animus.   See  Romero-
                                                             ___  _______

            Barcelo, 75 F.2d at 34.   In particular, Andrade would had to
            _______

            have  alleged  facts showing  that  the  defendants conspired

            against her because of  her "'membership in a class  and that

            the  criteria  defining  the  class were  invidious.'"    Id.
                                                                      ___

            (quoting Harrison  v. Brooks, 519  F.2d 1358, 1359  (1st Cir.
                     ________     ______

            1975)).   Neither  Andrade's complaint  nor the  evidence she

            presented at  trial, however,  identifies any class  of which

            she was a member, let  alone describes the invidious criteria

            defining the class.  Accordingly, we find that the magistrate

            was correct in finding that the   1985(3) claim was frivolous

            when first brought.





                                         -31-
                                          31















                      Although  we are  mindful  that the  granting of  a

            motion  for a directed verdict is not tantamount to a finding

            that a claim was frivolous  under   1988, see Christiansburg,
                                                      ___ ______________

            434 U.S. at 421-22 (cautioning district courts to resist "the

            understandable temptation to engage  in post hoc reasoning by

            concluding  that,  because  a plaintiff  did  not  ultimately

            prevail, his  action must  have been unreasonable  or without

            foundation"), we  nevertheless  affirm the  district  court's

            finding  of frivolity  so far  as the wrongful  discharge and

            interference with contract claims  are concerned for the same

            reasons that we affirmed  the grant of the Rule  50(a) motion

            on these claims.9

                      Because  we find  that the  district court  did not

            abuse  its  discretion in  finding  that  Count III  and  the

            majority  of Count IV were frivolous  when brought, we affirm

            the  district court's grant of an award of attorney's fees to

            Self-Help, Jackson, Holland, Anthony, Hillier, and Tiexiera.

                      2.  Self-Help's and Jackson's Cross-Appeal
                      __________________________________________

                      In  their cross-appeal, Self-Help and Jackson argue

            that the  magistrate erred in reducing  their attorney's fees




                                
            ____________________

            9.  Although we disagree  with the  district court's  finding
            that  the   IIED  claim   was  frivolous  when   brought,  we
            nevertheless  conclude  that the  fact that  only two  of the
            three claims were frivolous, rather than all three, would not
            have materially altered the district court's determination of
            the fee. 

                                         -32-
                                          32















            award  without allowing  supplemental discovery  on Andrade's

            actual financial condition.

                      Once  it   has  calculated  the   lodestar  for   a

            prevailing defendant,  the district court may  deny or reduce

            that  amount  after  considering  the  plaintiff's  financial

            condition.  See Charves  v. Western Union Tel. Co.,  711 F.2d
                        ___ _______     ______________________

            462, 465 (1st  Cir. 1983).   This court  has recognized  that

            while an award of attorney's  fees to a prevailing  defendant

            must  not subject  the plaintiff  to financial ruin,  it also

            must  fulfill the deterrent purpose of   1988 and 42 U.S.C.  

            2000e-5(k) in discouraging plaintiffs from bringing frivolous

            claims.  Id.
                     ___

                      Having   calculated   Self-Help's   and   Jackson's

            lodestar in defending Counts  I and IV to be  $40,810.90, the

            magistrate drastically reduced this amount  to $1,000 because

            of his  assessment of  Andrade's impecunity.   In determining

            that Andrade had limited financial resources, the  magistrate

            considered    her    workers'   compensation    benefits   of

            approximately $95/week,  her subsidized housing, and her car.

            The  magistrate, however,  also considered  that Andrade  was

            awarded a judgment of $7,183 in compensatory damages and $500

            in punitive damages.

                      Self-Help   and   Jackson   challenge  the   modest

            attorney's   fees  award,   claiming   that  the   magistrate

            mistakenly  applied the law in  failing to allow for separate



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                                          33















            discovery   regarding  Andrade's  financial  condition.    In

            particular,  they claim that in addition to the three sources

            of financial resources that  the magistrate cited, the record

            also revealed that Andrade was formerly a partner in two real

            estate  ventures.   Andrade testified  that she  "thinks" her

            partnership in West Associates, a real estate brokerage firm,

            "was a loss" and that she lost about $50,000 as  a partner in

            Erban Andrade  Associates.  Self-Help and  Jackson argue that

            this testimony  reveals that the magistrate  did not consider

            all  of  Andrade's  financial  resources  in  determining her

            financial  condition and  therefore he should  have permitted

            supplemental   discovery   to   ascertain  Andrade's   actual

            financial condition.

                      Self-Help's and  Jackson's  sole support  for  this

            proposition  comes from our decision in  Charves, 711 F.2d at
                                                     _______

            462.  However,  Charves is distinguishable.   In Charves,  we
                            _______                          _______

            upheld the  district  court's authorization  of  supplemental

            discovery because of its finding that the plaintiff was not a

            credible witness (the court characterized her testimony about

            her financial  condition as "evasive and  contradictory") and

            its suspicion that the plaintiff  had attempted "to place her

            assets beyond  the reach of anyone lawfully  entitled to look

            to the same."  Id. at  465.  We can discern neither  of these
                           ___

            justifications in the present case.





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                                          34















                      From  the  vantage   point  of  reviewing  a   cold

            appellate  record, Andrade's testimony  that she "thinks" her

            partnership in West  Associates "was a loss"  does not appear

            to be evasive.   Moreover,  it was well  within the  district

            court's discretion  to credit  Andrade's testimony about  her

            financial  condition  and   therefore  deny  Self-Help's  and

            Jackson's request for supplemental discovery, finding that it

            had  all  of the  information  regarding  Andrade's financial

            condition before  it.  Accordingly, we decline to remand this

            case  to allow  discovery  of Andrade's  financial condition,

            heeding  the Supreme  Court's warning  that "[a]  request for

            attorney's  fees   should  not  result  in   a  second  major

            litigation."10  Hensley, 461 U.S. at 437.
                            _______

                                        III. 
                                        III. 
                                        ____

                                      Conclusion
                                      Conclusion
                                      __________

                      For  the  reasons  stated  above,  we   affirm  the
                                                              ______

            district court's grant of Rule 50(a) motions on Counts IV and

            V as well  as its denial of JHA's Rule  50(b) motion on Count

            II.  We also affirm the district court's grant of the various
                         ______

            attorney's fees awards.  No costs.
                                     ________






                                
            ____________________

            10.  We  find Self-Help's and  Jackson's final  argument that
            the  district court erred in entering  an award of attorney's
            fees and  costs prior to  the entry of  final judgment to  be
            without merit.

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